Case 2:23-cv-00640-RGK-MAR Document 46-5 Filed 11/08/23 Page 1 of 6 Page ID #:557




                     EXHIBIT 2
Case 2:23-cv-00640-RGK-MAR Document 46-5 Filed 11/08/23 Page 2 of 6 Page ID #:558




                                                                                    TRGTII-008778
Case 2:23-cv-00640-RGK-MAR Document 46-5 Filed 11/08/23 Page 3 of 6 Page ID #:559




                                                                                    TRGTII-008779
Case 2:23-cv-00640-RGK-MAR Document 46-5 Filed 11/08/23 Page 4 of 6 Page ID #:560




                                                                                    TRGTII-008780
Case 2:23-cv-00640-RGK-MAR Document 46-5 Filed 11/08/23 Page 5 of 6 Page ID #:561




                                                                                    TRGTII-008781
Case 2:23-cv-00640-RGK-MAR Document 46-5 Filed 11/08/23 Page 6 of 6 Page ID #:562




                                                                                    TRGTII-008782
